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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

  CORNELL L. GALENTINE AND                         §
  SALLIE GALENTINE,                                §
                                                   §
           Plaintiffs,                             §
                                                   §
  v.                                               §   CIVIL ACTION NO. 4:22-cv-01781
                                                   §
  U.S. BANK NATIONAL ASSOCIATION,                  §
  AS TRUSTEE FOR SECURED ASSET                     §
  SECURITIES CORPORATION                           §
  MORTGAGE LOAN TRUST 2007-RFI,                    §
  WELLS FARGO BANK, N.A.,                          §
                                                   §
           Defendants.                             §


                   DEFENDANTS’ CERTIFICATE OF WRITTEN DISCOVERY


TO THE HONORABLE SIM LAKE:

         Defendants U.S. Bank National Association, as Trustee For Secured Asset Securities

Corporation Mortgage Loan Trust 2007-RFI (“Trustee”) and Wells Fargo Bank, N.A. (“Wells

Fargo”) (Trustee and Wells Fargo, collectively, “Defendants”), via their attorneys of record,

hereby certify that the following document was served on Plaintiffs Cornell L. Galentine and Sallie

Galentine (collectively, “Plaintiffs”), via their attorney of record, on this 15th day of November,

2022:

        Defendants’ First Set of Written Discovery Requests to Cornell L. Galentine, including:

            o Interrogatories;
            o Requests for Production; and
            o Requests for Admission.

        Defendants’ First Set of Written Discovery Requests to Sallie Galentine, including:

            o Interrogatories;
            o Requests for Production; and
            o Requests for Admission.


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                                          Respectfully submitted,

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                                          COUNSEL FOR DEFENDANTS
                                          U.S. BANK NATIONAL ASSOCIATION, AS
                                          TRUSTEE FOR SECURED ASSET
                                          SECURITIES CORPORATION MORTGAGE
                                          LOAN TRUST 2007-RFI AND WELLS FARGO
                                          BANK, N.A.




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                                CERTIFICATE OF SERVICE

        The undersigned certifies that on November 15, 2022, a true and correct copy of the
foregoing document was delivered to the following via ECF consistent with the Federal Rules
of Civil Procedure:

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       Counsel for Plaintiffs

                                          /s/ Matthew H. Davis
                                          Counsel for Defendants




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